Case 4:18-cv-00824-O Document 5 Filed 10/30/18 Page 1 of 16 Page|D 57

Case 4:18-cv-00824-O Document 3 Filed 10/09/18 Page 32 of 36 Page|D 49
K*Q%FP <R€Y; 12709) means in e,¢?ii,‘é°“‘¥l <Peé:e 2>

Civil Action No. 4:18-cv-00824-O

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

This summons for (name of individual and title, if any) 0(\\ \f(,\ SiU-\’C.S (g A‘M\\CQ
was received by me on (dafe) |O- \:[ \g .

l_ I personally served the summons on the individual at (p/ace)

 

on (a’ate) ; or

 

I_ l left the summons at the individual's residence or usual place of abode with (name)

 

, a person of suitable age and discretion who resides there,

 

 

 

 

 

 

 

 

 

on (date) , and mailed a copy to the individual's last known address; or
k l served the summons on (name of individua[) ‘B'“ B (UU A“A~\/!CH , who is designated
by law to accept service of process on behalf of (name ofo)'ganizotion) 0(\(\{(\ Si(a`((,§ (()\ NW?O
on (a’ate) lO‘ l 8 ~ {K ; or
I_ l returned the summons unexecuted because , or
l_ other (specz`jy)
My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

Date: lG ' lc§'\% §/2/ DUO g/

Server's signature

Svson Pfo»/¢>St, Pa,mtega/
Printed name and title

l 00 - ' F+. TY

Server's address

Additional information regarding attempted service, etc:

02_

Case 4:18-cv-00824-O Document 5 Filed 10/30/18 Page 2 of 16 Page|D 58

Case 4:18-cV-00824-O Document 3 Filed 10/09/18 Page 14 of 36 PagelD 31
AO fill (ltev. 712¢/09) Summons in a Civil Actionr(Pagei?)

Civil Action No. 4118-cV-00824-O

PROOF OF SERVICE
( T his section should not be filed with the court unless required by Fea'. R. Civ. P. 4 (I))

This summons for (name of individual and title, if uny) Cha ¢. 2 , P¢Ub/le , 5500
was received by me on (a'ate) /0 ' 1413 .

 

l_ l personally served the summons on the individual at (ploce)
on (date) ; or

 

l_ I left the summons at the individual's residence or usual place of abode with (name)
, a person of suitable age and discretion who resides there,

 

 

on (date) , and mailed a copy to the individual's last known address; or

I_ I served the summons on (name of individual) , who is designated

by law to accept service of process on behalf of (name of organization)

 

on (date) ; or

 

l_ Ireturned the summons unexecuted because ; or

K other (specijj)) § \l( if " l / l /l’] /LCC( IL /&
(l=* Zoo/ 1510 oooz 65&> Xq/,,)Jl »AHadwd

My fees are $ for travel and $ for seivices, for a total of $

I declare under penalty of perjury that this information is true.

ma twa-cs %.Q>L - ¢@</~

Server's signature

cna/m . w. h7/nza/e

Printed name and title

1200 @mm£h€we~,fzt JLO_, /¥.de;¢h /I/
Server's address 711 /OZ_

Additional information regarding attempted service, etc:

SENDER COMPLETE THIS SECTION

l Comp|ete items 1, 2, and 3. A|so complete
item 4 if Restricted Delivery is desired.

l Print your name and address on the reverse
so that we can return the card to you.

l Attach this card to the back of the mai|piece,

or on the front it space permits

 

`l. Al’llCle ACldreSS€d '[OC
Ch¢fz{ /Z . l:elt?'iQ/l//h
5 i:: § (:
/3 / /Yi §h*"¢y h fdii?:
illi’§ lucille Dc;

d`§"»"?

 

Case 4:18-cv-00824-O Document5 Filed.10/30/18 PageSof 16 Page|D 59

  

COMPLETE THlS SFCTiON ON DELIVERY
|:l Agent
l:l Addressee

 
 
    
 

 

 

BM/j I;r-;?td am) diateonyery

 

D ls delivery address different from item 1. '7 l:l Y€S
|f YES, enter delivery address beiow: l:l NO

 

 

 

 

3. Service Type
Certified Mai| l:l Express Mai|
l:l Registered eturn Fleceipt for Merchandise
l:l insured Mai| C.O.D. l
4. Restricted De|ivery? (Extra Fee) |:| Yes l

 

2. Ar'tic|e Number
(Transfer from service lab.

PS Form 381`|, August 2001

?UDI 2510 U|JUE DEBU B‘=il=E

Domestic Fieturn Receipt

102595- 02- M- 0835

l
l
l
l
l
.

~ Case 4:18-cv-00824-O Document 5 Filed 10/30/18 Page 4 of 16 Page|D 60

The Fillrnore Law Firm, L.L.P.

1200 SUMJ\/ll'l` AVENUE, SUITE 860 TELEPHONE: 817/332-2351
FAX: 817/870-1859

FOR'I` WORTH, TEXAS 76102

October 17, 2018

Via Certified Mail

Ms. Chai R. Feldblurn
7001 2510 0002 0580 8962

Equal Employment Opportunity Commission
131 M Street NE
Washington, DC 20507

Re: U.S. Pastor Council, oho itself and others similarly situated; Hotze Health &
Wellness Center, oho itself and others similarly situated v. Equal Employment
Opportanity Commission,‘ Victoria A. Kipnic, Chai R. Feldhlum, and Charlotte A.
Burrows, in their oyj‘icial capacities as chair and commissioners of the Equal
Employment Opportunity Commission,' Jejferson B. Sessions Ill, in his o]j’icial
capacity as Attorney General of the United States,‘ United States of America

Case No.: 41 18-cv-824

Dear MS. Feldblum:

Pursuant to Federal Rule of Civil Procedure 4(i), you are hereby served with the Citation
and Plaintifl’s Class Action Complaint filed With the United States District Court for the

Northern District of Texas Fort Worth Division.
Thank you very much for your attention to this matter.
Very truly yours,
wm w adm/iq Pe/M/m'q

Charles W. Fillmore

CWF:sp
Enclosures

 

Case 4:18-cv-00824-O Document 5 Filed 10/30/18 Page 5 of 16 Page|D 61

Case 4:18-cv~00824-O Document 3 Filed 10/09/18 Page 20 of 36 Page|D 37
lAO440(Rev.12/09)SummonsinaCivrlActron(PageZ) j mr n 7 g ` 7 j n m 7 m 7 ii f iv in fin ii niii¢l

Civil Action No. 4:18-cv-00824-O

PROOF OF SERVICE
( T his section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

This summons for (name of 1nd1v1d11al and title, ifany) J¢`(;\y(l.`a lLJ\¢C, gm

was received by me on (date) \Q- 29 l 3

 

l_ l personally served the summons on the individual at (place)
on (date) ; or

 

l_ l leit the summons at the individual's residence or usual place of abode with (name)
, a person of suitable age and discretion who resides there,

, and mailed a copy to the individual's last known address; or

 

 

on (date)

 

l_ I served the summons on (name of individual) , who is designated

by law to accept service of process on behalf of (name of organization)

 

on (date) ; or

 

l_ l returned the summons unexecuted because ;

IY other (specijj))

 

for travel and $ for services, for a total of $

My fees are $

l declare under penalty of perjury that this information is true.

tag /htlel,ag

Server's signature

(` items W. gilmore

Printed name and title

ion sumner Aue.,,sl sue larle Tt 11,1021

Server's address

Additional information regarding attempted service, etc:

Case 4:18-cv-00824-O Document 5 Filed 10/30/18 Page 6 of 16 Page|D 62

v
r-.»

SENDER: COMPLETE THIS SECTION

l Complete items 1, 2, and 3. A|so complete
item 4 if Restricted De|ivery is desired.

l Print your name and address on the reverse
so that we can return the card to you.

l Attach this card to the back of the mailpiece,
or on the front if space permits.

 

1. Article Addressed to:
\i;: tim 1 11 Li 130 1 11
\: EDC

 

 

COMPLETE THIS SECT.'QN ON DELIVERY

         
 
  
 

 

l:l Agent
l:l Addressee

 

 

.ODat iq DelTW

 

 

‘E). ls delivery address different from item 1913 YES

lf YES, enter delivery address below:

l
l:lNo |‘
l

 

 

151 111 3111:11 N§
hhshcvrjl'aa 012

3. Service Type
Certified Mail l:l Express Mail

l:l Flegistered KReturn Receipt for Merchandise

 

 

 

2(_)§€`1? El lnsured Mail E| C.o.o.
4. Flestrlcted De|ivery? (Extra Fee) |:| Yes 11
2. Article Number 4 '
mansferfromservicelabe/) ?UD]" EE]‘DSBDDE UEBD B:l?:i 1

 

 

PS Form 38.1 1 , August 2001

Domestic Fleturn Receipt

102595.02-M-0335i

l

a

Case 4:18-cv-00824-O Document 5 Filed 10/30/18 Page 7 of 16 Page|D 63

The Fillmore Law Firm, L.L.P.

1200 SUl\/H\/IIT AVENUE, SUITE 860 TELEPHONE: 817/332-2351
FAX: 817/870-1859

FORT WORTH, TEXAS 76102

October 17, 2018

Via Certified Mail

Ms. Victoria Lipnic
7001 2510 0002 0580 8979

Equal Employment Opportum`ty Commission
131 1\/1 Street NE
Washington, DC 20507

Re: U.S. Pastor Council, obo itself and others similarly situated,' Hotze Health &
Wellness Center, obo itself and others similarly situated v. Eqaal Employment
Upportunity Commission,' Victoria A. Kipnic, Chai R. Feldblum, and Charlotte A.
Burrows, in their ojj‘icial capacities as chair and commissioners of the Eqaal
Employment Opportunity Commission; Jefferson B. Sessions Ill, in his official
capacity as Attorney General of the United States; United States of America

Case No.: 4:18-cv-824

Dear Ms. Lipnic:

Pursuant to Federal Rule of Civil Procedure 4(1), you are hereby served With the Citation
and Plamtiff’ s Class Action Complaint filed with the United States District Court for the

Northern District of Texas Fort Worth Division.
Thank you very much for your attention to this matter
Very truly yours,

wig/ries w gilliam/1ng

Charles W. Fillrnore

ill/651 151/l

CWF:sp
Enclosures

 

Case 4:18-cv-OO824-O Document 5 Filed 10/30/18 Page 8 of 16 Page|D 64

Case 4:18-cV-00824-O Document 3 Filed 10/09/18 Page 8 of 36 Page|D 25
AO4495,131“;l?/‘??>,,,$,“IP:“?FSine€iri}e€§i?",<l’agez>,,,, 2 ,, ,, 2 , ,, ,, _ , n ..

Civil Action No. 4:18-cv-00824-O

PROOF OF SERVICE
( T his section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

 

This summons for (name of individual and title, if any) w d l '* j 6 ` j/`QH
was received by me on (date) j() ' w ' l% .
l_ I personally served the summons on the individual at (place)
on (date) ; or

 

 

 

I_ l left the summons at the individual's residence or usual place of abode With (name)
, a person of suitable age and discretion who resides there,

, and mailed a copy to the individual's last known address; or

 

on (date)

 

I_ I served the summons on (name of individual) , who is designated

 

by law to accept service of process on behalf of (name of organization)

 

on (date) ; or

 

l_ I returned the summons unexecuted because ; or

D( other<spw'fy) limer Slales fMMLQQmp/_&%uméc/_
Altathed

(*"700/ zsto pont 0590 1?¢6’61 '

 

 

My fees are $ for travel and $ for selvices, for a total of $

I declare under penalty of perjury that this information is true.

row liddell /

Server's signature

fha/lis lt/. til/nme

Printed name and title

1200 sums 4161 sla,s, 511 warth 11 ic/oz_

Server's address

Additional information regarding attempted service, etc:

Case 4:18-cv-OO824-O Document5 Filed,10/30/18 Page90116 Page|D 65

  

COMPLETE THIS SECTION ON DELlVERY

  
 

  

SENDER: complete rH/s sEcT/o~

 

l Complete items 1, 2. and 3. A|so complete
item 4 if Restricted De|ivery is desired. X i:i Agent
l Print your name and address on the reverse |:| Addressee

-So that we can return the card to you. l W,ed Name) C_ Dat`e owen ery
l Attach this card to the back of the mailpiece, ' j Q. 2 /
or on the front if space permits. ` ' c il "S>'~J / V'
_ . D. ls delivery address different from item 1? i:l YSS
1` Amc|e Addressed to` |f YES, enter delivery address beloW: l:l NO

§§Dc

 
 

 

 

 

 

 

 

 

 

 

 

, ~ ,, . / o -
13/Hs1@1ae _ .j
t walsh l l/i:] lil:{vl DQ" 3. Service Type ` y
1 1 Yertified Mail l:l Express Mail 11
` ;Gj@ "7 Registered ` 'Fleturn Fleceipt for Merchandise '

l El insured Mail .o.o. l '
~ 4. Restricted De|ivery? (Extra Fee) |:| Yes ii
2'A"‘°'e"“"“be' ` 7001§251.‘_0 nude nasa 11=1111= "

(Transfer from service label)

PS Form 381 1, August 2001 Domesric Return Receipt l 102595.02~~1-0835v
. . j

 

 

Case 4:18-cv-OO824-O Document 5 Filed 10/30/18 Page 10 of 16 Page|D 66

The Fillrnore Law Firm, L.L.P.

1200 SUMMIT AVENUE, SUITE 860 TELEPHONE: 817/332-2351
FAX: 817/870-1859

FORT WORTH, TEXAS 76102

October 17, 2018

Via Certitied Mail

Equal Employment Opportunity
7001 2510 0002 0580 8986

Commission
131 M Street NE
Washington, DC 20507

Re: US. Pastor Coancil, obo itself and others similarly situated,‘ Hotze Health &
Wellness Center, obo itself and others similarly situated v. Equal Employment
Opportunity Commission,' Victoria A. Kipnic, Chai R. Feldblum, and Charlotte A.
Burrows, in their official capacities as chair and commissioners of the Equal
Employment Upportanity Commission; Jejferson B. Sessions II], in his o]j‘icial
capacity as Attorney General of the United States; United States of America

Case No.: 4:18-cv~824

Dear Sir or Madam:

Pursuant to F ederal Rule of Civil Procedure 4(1), you are hereby served With the Citation
and Plaintift’ s Class Action Complaint filed With the United States District Court for the

Northern District of Texas Fort Worth Division.
Thank you Very much for your attention to this matter.
Very truly yours,

611/rio 111 §/lltal/DQ/ PM.SW

Charles W. Fillmore

CWF:sp

Enclosures

 

 

Case 4:18-cv-OO824-O Document 5 Filed 10/30/18 Page 11 of 16 Page|D 67

Case 4:18-cv-00824-O Document 3 Filed 10/09/18 Page 26 of 36 Page|D 43
4912,<3¢¥;3?/0?? ,SP"F:"SH,S 11 1911e,“,fiet<l?ee?),,, ,
Civil Action No. 4:18-cv-00824-O

PROOF OF SERVICE
(T his section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

This summons for (name of 1nd1v1dual and title, 1far1y) .lC gF{.SQ(\ B $C§§l(y')§ m/, A'#O/l'}€b/ émQ/d,/
was received by me on (date) lO' 24 l 3

l_ l personally served the summons on the individual at (place)

 

on (date) § Or

 

l_ l left the summons at the individual's residence or usual place of abode with (name)
a person of suitable age and discretion who resides there,

 

s

on (date) , and mailed a copy to the individual's last known address; or

I_ l served the summons on (name of individual) , who is designated

by law to accept service of process on behalf of (name of organization)

 

on (date) ; or

 

[_ l returned the summons unexecuted because ; or

fY orher<specry) limit/l Slalr§ Ccrhh'al mart iZ¢h/m I?ec¢t>t iZm~/drd
le 7001 2511 0002 asa> sq‘ts\ - albano/l

My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

., /%,lt il/

Server' s signature

Cha/lzs W. hll more

Printed name and title

_l@o_iamm,t» Ave.,. §lr a,o,, l't')rt' WM'L\E

Server's address 701

Additional information regarding attempted service, etc:

Case 4:18-cv-OO824-O Document5 Filed,10/30/18 Page 12 0116 Page|D 68

b l Complete items 1, 2, and 3. Also complete A- Signafure

item 4 if Restricted De|ivery is desired. X l:l Agent
l Print your name and address on the reverse

l:l Addressee ‘

 

so that we can return the card to you.
l Attach this card to the back of the mailpiece,
or on the front if space permits.

 

 

 

_ D. ls delivery address different from item 1’? l:l Y€S
1' Amc|e Ad:|dz essed to' lf YES, enter delivery address below: l:l No

J §§5101/1§
U: dilatle (l@'i€tct i l
050 Pri)t-).Sc//t/oiaa live

 

 

 

3. , Service Type

WS/,my/U/? 0 6 Ecenmed Mail El Express Mail

 

 

 

B. Fleceived by ( Printed Name) C. Date of De|ivery

l
l

-7 - ‘ Fle lstered eturn Flecei ttor l\/lerchandise
1 l` 5 , 9 p
"c' jac E| insured Mail - lIl c.o.o.
4. Restricted De|ivery? (Extra Fee) |:l Yeg
2. Anicle Number `- 7
7001 E510 0002 05150 B‘=lLlB

(Transfer from service label)

PS Form 381 1 , August 2001 Domestic Fleturn Fleceipt 102595-02-11/1-0835 ,
l

 

 

l

Case 4:18-cv-OO824-O Document 5 Filed 10/30/18 Page 13 of 16 Page|D 69

The Fillrnore Law Firm, L.L.P.

TELEPHONE: 817/332-2351

1200 SUMl\/IIT AVENUE, SUITE 860
FAX: 817/870-1859

FORT WORTH, TEXAS 76102

October 17, 2018

Via Certified Mail

Mr. Jefferson B. Sessions, 111
7001 2510 0002 0580 8948

U.S. Attorney General
950 Pennsylvania Ave.
Washington, DC 20530

Re: US. Pastor Council, obo itself and others similarly situated,' Hotze Health &
Wellness Center, obo itself and others similarly situated v. Equal Employment
Opportunity Commission,' Victoria A. Kipnic, Chai R. Feldblum, and Charlotte A.
Burrows, in their ojj‘icial capacities as chair and commissioners of the Equal
Employment Opportunity Commission,' Je]ferson B. Sessions lll, in his official
capacity as Attorney General of the United States,' United States of America

Case No.: 4:18-cv-824

Dear Mr. Sessions:

Pursuant to Federal Rule of Civil Procedure 4(1), you are hereby served with the Citation
and Plaintiff’s Class Action Complaint filed With the United States District Court for the

Northern District of Texas Fort Worth Division.
Thank you very much for your attention to this matter.
Very truly yours,

cid/till 501 /L;'!/ilLM//Q/ />€/M;g@:\

Charles W. Fillmore

CWF:sp

Enclosures

 

 

Case 4:18-cv-OO824-O Document 5 Filed 10/30/18 Page 14 of 16 Page|D 70
Case 4:18-cv-00824-O Document 3 Filed 10/09/18 Page 2 of 36 PagelD 19

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No. 4:18-cv-00824~O

 

PROOF OF SERVICE
( T his section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

This summons for (name of individual and title, if any) Cl/l V/ '_

was received by me on (date) 10 - 23 -l g .

l_ I personally served the summons on the individual at (place)

 

on (date) ; or

 

 

l_ I left the summons at the individual's residence or usual place of abode with (name)

 

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual's last known address; or

l_ I served the summons on (name of individzlal) , who is designated

by law to accept service of process on behalf of (name oforganization)

 

on (date) ; or

 

F I returned the summons unexecuted because ; or

r`§(orher<specify) llmlrtl <hlzs Cc/tifa/ /itat/ 1211/m illegal Um~ecér/

(<*71>1)1 2510 ama mesa sossl /4#13

 

My fees are $ for travel and $ for services, for a total of S

1 declare under penalty of perjury that this information is true.

lhei.lc/

Se1ver's signature

thing ¢¢1. gmi

Printed name and title

lZOQ £¢mmr`f 441 €. ci:k AQQ @PF@A)M` ]`X

Server's address 76 (UZ

Additional information regarding attempted service, etc:

Case 4:18-cv-OO824-O Document 5 Filed _10/30/18 Page 15 of 16 Page|D 71

   
 
  

SENDER: COMPLETE TH[S iSéCT/ON¢ 7 COMPLETE THIS SECTION ON DELIVERY

l Complete items 1, 2, and 3. Also complete
item 4 if Restricted De|ivery is desired.

l Print your name and address on the reverse
so that we can return the card to you.

l Attach this card to the back of the mailpiece,
or on the front if space permits.

    

l Agent,
[:l Addressee |

ass yes 1111

l
’6. ls delivery address different from item 1? i:l Y€S l
l
1

 

 

 

 

 

 

 

 

 

 

 

i- A'iic|e Add"essed to" lt YES, enter delivery address below: i:i NO j
C he rid 111 1801/111 1115 1
eeoc 1
. j‘$' /\/'! f ,1 v / ij l
l 1:’/ §H eti/ia iii i_‘ 3. Service Type i

, _ , ,» 1 n certified Mail `El Express Mail l
l/i)l'!§!l”':? mm 1 til BRegistered g Fleturn Fleceipt for Merchandise l
_ l'_`l |nsured Mail l:l C.O.D. l .
idea t ~ - f
1 1 ' . 4. Flestrlcted De|ivery? (Extra Fee) |:l Yes 1
Z-A“‘°'e'“”mber 1001 2510 0002 0500 0‘155 § 1

(Transfer from service /abe/}

 

 

PS Form 381 `l, August 2001 Domestic Return Fleceipt 102595-02-1\11-0035:

Case 4:18-cv-00824-O Document 5 Filed 10/30/18 Page 16 of 16 PagelD 72

The Fi11m0re LaW Firrn, L.L.P.

1200 SUMMIT AVENUE, SUITE 860 `TELEPHONE: 817/332-2351
FAX: 817/870-1859

FORT WORTH, 'I`EXAS 76102

Oetober 17, 2018

Via Certifred Mail

MS. Charlotte Burrows
7001 2510 0002 0580 8955

Equal Employrnent Opportunity Comrnission
131 M Street NE
Washington, DC 20507

Re: U.S. Pastor Council, obo itself and others similarly situated; Hotze Health &
Wellness Center, obo itself and others similarly situated v. Ec]ual Employrnent
Opportunizj/ Co)nmission,' Vz`ctoria A. Kz`pnic, Chai R. Feldblum, and Charlotte A.
Burrows, in their o]j’icz'al capacities as chair and commissioners of the Equal
Ernployrnent Opportunity Cornrnission,' Je]j‘erson B. Sessions I]I, in his o]j‘l`cial
capacity as Attorney General of the United States,' United States ofArnerica

Case No.: 4:18-cv~824

Dear MS. Burrows:

Pursuant to F ederal Rule of Civi1 Procedure 4(1), you are hereby Served With the Citation
and Plaintiff’s Class Action Comp1aint filed With the United States District Court for the

Northern District of TeXaS Fort Worth Division.
Thank you very much for your attention to this matter.

Very tru1y yours,

Unin LO» Ellw{// .
Charles W. Fillmore vi WM/m

CWF : Sp
Enclosures

